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     Bruce Feder - State Bar No. 004832
 4
     attorney for Defendant
 5
 6                                   UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF ARIZONA
 8   UNITED STATES OF AMERICA,                      )       NO. CR03-00543-001-PHX-SMM
                                                    )
 9                    Plaintiff,                    )       MOTION FOR EARLY TERMINATION
        v.                                          )             OF PROBATION
10                                                  )
     KELLY TIMOTHY LIU,                             )
11                                                  )
                      Defendant.                    )
12                                                  )
13             The Defendant, Kelly Liu, by and through his attorneys undersigned, moves this Court for
14   its order terminating his probation for the reasons that:
15             1.     Mr. Liu has completed all of the requirements of probation including, but not limited
16                    to, restitution;
17             2.     The travel restrictions imposed by probation are impeding his ability to expand his
18                    business.
19             This Motion is based on the attached Memorandum of Points and Authorities, the file in this
20   matter, and such other arguments and evidence as may be presented.
21             RESPECTFULLY SUBMITTED this 8th day of August, 2006.
22                                                  FEDER LAW OFFICE, P.A.
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24                                                     s/Bruce Feder
                                                    Attorney for Defendant
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     ...
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2          On March 14, 2005, this Court placed the Defendant, Kelly Liu, on probation for a period
 3   of three years. Since that time, Mr. Liu has participated in and expanded several businesses to a
 4   point where his days are substantially filled. The need for permission to travel and travel restrictions
 5   imposed by probation are impeding further expansion of his business. He has complied with all
 6   restitution and other requirements of probation.
 7          Based on these facts, it is requested that the probation of Mr. Liu be terminated earlier than
 8   the term previously set at sentencing.
 9          DATED this 8th day of August, 2006.
10                                                  FEDER LAW OFFICE, P.A.
11
12                                                          s/Bruce Feder
                                                        Attorney for Defendant
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       Case 2:03-cr-00543-SMM Document 91 Filed 08/08/06 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE
 2
     I hereby certify that on the 8th day of August, 2006, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
     Electronic Filing to the following CM/ECF registrants:
 4
     Frederick Battista
 5   fred.battista@usdoj.gov
 6   I hereby certify that on the 8th day of August, 2006, a copy of the attached document was sent by e-
     mail and mail to:
 7
     The Honorable Stephen M. McNamee
 8   United States District Court
     Sandra Day O’Connor U.S. Courthouse
 9   401 West Washington, SPC 60
     Phoenix, AZ 85003
10   mcnamee_chambers@azd.uscourts.gov
11
      s/Laurel Barord
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